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                                                     FILED
                                                    Jan 28,
                                                    Jun 26, 2022
                                                            2025
                                                 CLERK, U.S. DISTRICT COURT
                                               EASTERN DISTRICT OF CALIFORNIA




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                               26th

                   June

                                      /s/ Chris Nair



                                      Bench warrant to issue; detention/release TBT at initial
                                      appearance


                                                         U.S. Magistrate Judge
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